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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION



 UNITED STATES OF AMERICA                                   INDICTMENT NO.CR420 081
        V,                                                  15 U.S.C.§ 1
                                                            18 U.S.C.§ 1001
 EVANS CONCRETE,LLC;                                        18 U.S.C.§ 1621
 JAMES CLAYTON PEDRICK;
 GREGORY HALL MELTON;
 JOHN DAVID MELTON,
      a.k.a. DAVID MELTON;
 TIMOTHY TOMMY STRICKLAND,
      a.k.a. BO STRICKLAND;

                           Defendants.



                                                                                           I
                                                                                         . V"^

THE GRAND JURY CHARGES THAT:

                     COUNT ONE-SHERMAN ACT CONSPIRACY
                                         (15 U.S.C. § 1)

                              DESCRIPTION OF THE OFFENSE


1.     The following corporations and individuals are hereby indicted and made defendants on

the charge stated below:

                         EVANS CONCRETE,LLC;
                       JAMES CLAYTON PEDRICK;
                        GREGORY HALL MELTON;
               JOHN DAVID MELTON,a.k.a. DAVID MELTON;and
             TIMOTHY TOMMY STRICKLAND,a.k.a. BO STRICKLAND.

2.     Beginning at least as early as 2010 and continuing imtil in or about July 2016, the exact

dates being unknown to the Grand Jury, in the Southern District of Georgia and elsewhere, the

defendants and other co-conspirators, including Company-1, Company-2, Company-3, and

Individual-A,entered into and engaged in a combination and conspiracy to suppress and eliminate
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competition by fixing prices, rigging bids, and allocating markets for sales ofready-mix concrete.

The combination and conspiracy engaged in by the defendants and other co-conspirators was aper

se unlawful, and thus unreasonable, restraint of interstate and foreign trade and commerce in

violation of Section 1 ofthe Sherman Act(15 U.S.C. § 1).

3.     The combination and conspiracy consisted ofa continuing agreement,understanding,

and concert of action among the defendants and other co-conspirators, the substantial terms

of which were to fix prices, rig bids, and allocate markets for sales ofready-mix concrete in

the Southern District of Georgia and elsewhere.

                                        BACKGROUND


4.     Ready-mix concrete is a product comprised of ingredients including cement, aggregate

(sand and gravel), water, and, at times, other additives. Ready-mix concrete is made on demand

and, if necessary, delivered to work sites by concrete mixer trucks. Ready-mix concrete is

purchased by do-it-yourself and commercial customers, as well as local, state, and federal

governments, for use in various construction projects, including but not limited to sidewalks,

driveways, bridges,tunnels, and roads. Once blended at a plant and loaded into a truck, ready-mix

concrete will solidify and be considered a loss ifit is not poured in a timely manner(typically less

than an hour). Due to high transportation costs and its perishable nature, concrete firms have

restricted geographic marketing areas, which surround their various individual plants.

                         DEFENDANTS AND CO-CONSPIRATORS


$.     Defendant EVANS CGNCREIE,LLC, hereinafter EVANS, was a Georgia limitedliafiilTty

corporation vrith its headquarters in Claxton, Georgia. During the period covered by this Count,

Defendant EVANS was engaged in the manufacture and sale ofready-mix concrete in the Southern

District of Georgia.
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6.     Company-1 was a company engaged in the manufacture and sale ofcement and ready-mix

concrete in the Southern District of Georgia and elsewhere. Company-2 and Company-3 were

companies engaged in the manufacture and sale ofready-mix concrete in the Southern District of

Georgia and elsewhere.

7.     During the period covered by Count One, Defendant GREGORY HALL MELTON,

hereinafter GREG MELTON, was division manager ofready-mix concrete sales for Company-1 in

its Pooler, Georgia, office.

8.     During the period covered by Count One, Defendant JAMES CLAYTON PEDRICK,

hereinafter PEDRICK, was a cement salesman for Company-1, selling cement to ready-mix

concrete suppliers in the Southem District of Georgia and elsewhere.

9.     During the period covered by Count One,Individual-A was an owner of Company-2.

10.    From approximately 2007 and continuing until approximately 2015, Defendant JOHN

DAVID MELTON,hereinafter DAVID MELTON,was the general manager for Company-2.

11.    During the period covered by Count One, Defendant TIMOTHY TOMMY

STRICKLAND, a.k.a. BO STRICKLAND, hereinafter STRICKLAND, was, at different times,

owner, president, area manager, plant manager,and salesperson for Defendant EVANS.

12.    Various companies and individuals, not made defendants in Count One, including

Company-1, Company-2, Company-3, and Individual-A, participated as co-conspirators in the

offense charged in Count One and performed acts and made statements in furtherance thereof.

13.     Whenever in Count One reference is made to any act, deed,or transaction ofany company,

such allegation shall be deemed to mean that the company engaged in such act, deed,or transaction

by or through its officers, directors, agents,employees,or representatives while they were actively

engaged in the management, direction, control, or transaction ofits business or affairs.
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                     MANNER AND MEANS OF THE CONSPIRACY


14.    For the purpose offorming and carrying out the charged combination and conspiracy, the

defendants and other co-conspirators did those things that they combined and conspired to do,

including, among other things:

       A.     Used Defendant PEDRICK as a conduit to exchange price-increase letters

              and other pricing and job-related information among the defendants and

              other co-conspirators for the purpose of coordinating price increases,

              rigging bids, and allocating jobs;

       B.     Issued price-increase letters to ready-mix concrete customers, which letters

              reflected the price increases agreed-upon by the defendants and other co-

              conspirators;

       C.     Allocated specific ready-mix concrete jobs, including but not limited to

              allocation between Company-1 and Defendant EVANS of jobs in the

              Statesboro, Georgia, area;

       D.     Allocated specific ready-mix concrete jobs, including but not limited to

              allocation between Defendant GREG MELTON of Company-1 and

              Defendant DAVID MELTON of Company-2 ofresidential jobs;

       E.     Agreed to charge ready-mix concrete customers fuel surcharges and

              environmental fees;

       F.     Submitted quotes and bids to ready-tnix concrete customers at collusive and

              noncompetitive prices;
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       G.     Obtained the economic benefits ofthe charged conspiracy by receiving and

              accepting payments for ready-mix concrete sold through contracts and on

              projects that were affected by the conspiracy alleged in this Count;

       H.     Pressured other concrete suppliers to participate in the conspiracy alleged

              in this Count and threatened companies that refused to join; and

       I.     Concealed the conspiracy and conspiratorial contacts through various

              means, including by using Defendant PEDRICK as a conduit to exchange

              price-increase letters and information among the defendants and other co-

              conspirators.

                                 TRADE AND COMMERCE


15.    During the time period covered by Count One, the defendants and other co-conspirators,

from their offices in Georgia, bid on projects to be performed at locations outside of Georgia,

including South Carolina.

16.    During the time period covered by Count One, the defendants and other co-conspirators

sold ready-mix concrete fi*om their offices in Georgia to locations outside of Georgia, including

South Carolina.


17.    During the time period covered by Count One, the defendants and other co-conspirators

purchased sAstantial quantities of ingredients, supplies, and equipment necessary to the
production and distribution of ready-mix concrete, which ingredients, equipment, and supplies

were shipped into Georgia from points Of origin outside of Georgia.
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18.    During the time period covered by Count One, the defendants and other co-conspirators

sold ready-mix concrete to the United States military and agencies of the United States

Government. Defendants and other co-conspirators received payments from the United States,

which payments were sent from outside of Georgia to the defendants' offices located within

Georgia.

19.    During the time period covered by Count One,the business activities ofthe defendants and

other co-conspirators in connection with ready-mix concrete that is the subject ofCount One,were

within the flow of, and substantially affected, interstate and foreign trade and commerce.

           ALL IN VIOLATION OF TITLE 15, UNITED STATES CODE,SECTION 1.


                          COUNT TWO-FALSE STATEMENTS
                                     (18U.S.C. § 1001)

20.    The Grand Jury incorporates and re-alleges Paragraphs 8 and 10 of Count One as if fully

set forth herein.


21.    On or about February 5,2018,in Savannah, Georgia, in the Southern District of Georgia,

Defendant PEDRICK knowingly and willfully made false statements to federal law enforcement

agents, which statements were material to a matter within the jurisdiction ofthe executive branch

ofthe United States Government. Specifically, in connection with an investigation by the United

States Postal Service Office of Inspector General and the Federal Bureau of Investigation,

DefendantPEDRICK was interviewed by special agents ofthe United States Postal Service Office

of Inspector General and the Federal Bureau of Investigation. During that interview. Defendant

PEDRICK falsely stated:
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        A.      He had never heard ofcollusion or price-fixing in the Savannah market; and

        B.      He had never personally discussed concrete price increases with DAVID

                MELTON.


22.     The statements were false because, as Defendant PEDRICK then and there knew:

        A.      He had heard of and knew of collusion and price fixing in the Savannah

                market; and

        B.      He had personally discussed concrete price increases with DAVID

                MELTON.


         ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE,SECTION 1001.


                          COUNT THREE-FALSE STATEMENTS
                                         (18U.S.C. §1001)

23.     The Grand Jury incorporates and re-alleges Paragraphs 6, 7, 8, and 11 of Count One as if

fully set forth herein.

24.     On or about October 8, 2015, in Savannah, Georgia, in the Southem District of Georgia,

Defendant STRICKLAND knowingly and willfully made false statements to federal law

enforcement agents, which statements were material to a matter within the jurisdiction of the

executive branch of the United States Government. Specifically, in connection with an

investigation by the Defense Criminal Investigative Service ("DCIS") and the United States

Attorney's Office for the Southem District ofGeorgia,Defendant STRICKLAND was questioned

in an oral examination by an assistant United States attomey and a special agent of the DCIS.

During that interview. Defendant STRICKLAND falsely stated:
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      A.    Neither he, nor anyone else, had any communications with Company-1

            about the Georgia Southern University biology building job;

      B.    He never discussed with GREG MELTON prices ofconcrete;

      C.    He never discussed with GREG MELTON specific jobs in Statesboro or on

            the Georgia Southern University campus;

      D.    He never discussed with GREG MELTON,PEDRICK, or anyone else at

            Company-1 any ofthe following projects: The Islands, GSU dining facility,

            Briggs and Stratton, GSU rec facility. Aspen Heights, McDonald's; and

      E.    PEDRICK never gave STRICKLAND anyone else's price-increase letter

            before it was sent to customers.


25.   The statements were false because, as Defendant STRICKLAND then and there knew:

      A.    He, and others he was aware of, had communications with Company-1

            about the Georgia Southern University biology building job;

      B.    He discussed with GREG MELTON prices of concrete;

      C.    He discussed with GREG MELTON specific jobs in Statesboro and on the

            Georgia Southern University campus;

      D.    He discussed with Company-1 employees,including GREG MELTON and

            PEDRICK,projects,including The Islands, GSU dining facility, Briggs and

             Stratton, GSU rec facility. Aspen Heights, and McDonald's; and

      E.    PEDRICK gave Defendant STRICBCLAND other concrete companies'

             price-increase letters before they were sent to customers.

      ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE,SECTION 1001.
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                                  COUNT FOUR-PERJURY
                                      (18U.S.C.§ 1621(1))

26.     The Grand Jury incorporates and re-alleges Paragraphs 6, 7, 8, and 11 of Count One as if

fully set forth herein.

27.     On or about October 8, 2015, in Savannah, Georgia, in the Southern District of Georgia,

Defendant STRICKLAND, having duly taken an oath before a competent person that he would

testify truthfully at an oral proceeding at which the laws ofthe United States authorize an oath to

be administered, did willfully, knowingly, and contrary to his oath testify falsely as to a material

matter, in that he gave the following answers at an oral examination authorized under Title 31,

United States Code, section 3729 et seq. before a duly appointed False Claims Act investigator:

        Q: Did you or anyone else, to your knowledge, have any communications with

       [Company-1] about that [Georgia Southern University biology building] job,

        bidding on thatjob?

        A: No,I did not.

       ***




        Q: Did you ever discuss prices or talk about upcoming jobs with Greg Melton?

        A: Prices of concrete?


        Q: Price of concrete.

        A: No,no.

        * **




        Q: Have you and Greg Melton ever discussed prices ofconcrete to the customers?

        Have you ever talked to Greg Melton about his prices or[Company-I's] prices for

        concrete?


        A: Have I talked to Greg about their pricing?
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       Q: Yes.

       A: No.


       Q: What about any specific jobs in Statesboro or on the Georgia Southern

       University campus? Have you ever talked to him about any projects there?

       A: No.

       ***




       Q: What about the upcoming, the next heading down there,"Upcoming projects:

       The Islands, GSU dining facility, Briggs and Stratton, GSU rec facility. Aspen

       Heights, McDonald's." Did you talk to Greg Melton or Jim Pedrick or anyone else

       at[Company-1] about those projects?

       A: No.

       * **




       Q: Has Jim Pedrick ever given you anyone else's price-increase letter before they

       were sent out[?]

       A: No.


28.    The aforesaid testimony ofDefendant STRICKLAND,as he then and there well knew and

believed, was false in that:

       A.      He, and others he was aware of, had communications with Company-1

               about the Georgia Southern University biology building job;

       B.      He discussed with GREG MELTON prices of concrete;

       C.      He discussed with GREG MELTON specific jobs in Statesboro and on the

               Georgia Southern University campus;




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 D.   He discussed with Company-1 employees, including GREG MELTON and

      PEDRICK, upcoming projects, including The Islands, GSU dining facility,

      Briggs and Stratton, GSU rec facility. Aspen Heights, and McDonald's; and

 E.   PEDRICK gave Defendant STRICKLAND other concrete companies'

      price-increase letters before they were sent to customers.

ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE,SECTION 1621(1).

                                            A True ^11.




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